                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 GLOBAL AEROSPACE, INC.,                      )
                                              )
        Plaintiff / Counter-Defendant,        )
                                              )
        v.                                    )      Case No. 3:15-cv-105
                                              )
 PHILLIPS & JORDAN, INC.,                     )      District Judge Pamela L. Reeves
                                              )
        Defendant / Counter-Plaintiff,        )      Magistrate Judge C. Clifford Shirley
                                              )
        v.                                    )
                                              )
 AMERICAN ALTERNATIVE INS.                    )
 CO., ET AL.,                                 )
                                              )
        Counter-Defendants.                   )

                           MOTION FOR SUMMARY JUDGMENT

        COMES NOW Plaintiff / Counter-Defendant Global Aerospace, Inc. (“Global”), and

 Counter-Defendants American Alternative Ins. Corp. (“AAIC”), American Commerce Ins. Co.

 (“ACIC”), Mitsui Sumitomo Ins. Co. of America (“Mitsui”), National Indemnity Co. (“NICO”),

 and Tokio Marine America Ins. Co. (“Tokio Marine”) (Global, AAIC, ACIC, Mitsui, NICO, and

 Tokio Marine are collectively referred to as “Movants”), and pursuant to Fed. R. Civ. Pro. 56,

 hereby move this Court for an order granting summary judgment in their favor and against

 Defendant / Counter-Plaintiff Phillips & Jordan, Inc. (“P&J”) on all counts of P&J’s counterclaim.


        Respectfully submitted on this 26th day of February 2016.




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                                    DEFENDANT GLOBAL AEROSPACE, INC.;
                                    COUNTER-DEFENDANTS AMERICAN
                                    ALTERNATIVE INS. CORP.; AMERICAN
                                    COMMERCE INS. CO.; TOKIO MARINE
                                    AMERICA INS. CO.; AND MITSUI SUMITOMO
                                    INS. CO. OF AMERICA

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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have caused a true and correct copy of the foregoing to be served via
 CM/ECF or United States mail, postage pre-paid, on this 26th day of February 2016, upon the
 following:

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                                                        /s/ Trevor L. Sharpe




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